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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Western                          Texas
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                                        11
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           WastePlace,       LLC
                                              ______________________________________________________________________________________________________



                                              N/A
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8 1             1 8 2 1 0 6 5
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              1606       Headway Cir
                                              ______________________________________________
                                                                                                            3903       South Congress
                                                                                                            _______________________________________________
                                              Number          Street                                        Number      Street

                                              #9067
                                              ______________________________________________
                                                                                                            40715
                                                                                                            _______________________________________________
                                                                                                            P.O. Box

                                              Austin                      TX       78754
                                              ______________________________________________                Austin                    TX         78704
                                                                                                            _______________________________________________
                                              City                              State     ZIP Code          City                        State        ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                              Travis
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.wasteplace.com
                                              ____________________________________________________________________________________________________




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Debtor        WastePlace, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ■ None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 6 ___
                                                    1 ___
                                                       7

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ■ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                          ■ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         WastePlace, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        
                                         ■ No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            
                                         ■ No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         
                                         ■ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         
                                         ■ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
            WastePlace, LLC
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     
                                         ■ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         
                                         ■ 1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                         
                                         ■ $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        
                                                                             ■ $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                               18
                                                           09 /22/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                          Gary    LaBreck
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                  CEO
                                             Title _________________________________________




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Debtor      WastePlace, LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         _____________________________________________            Date           18
                                                                                                              09 /22/23
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Justin M. Mertz
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Michael Best & Friedrich LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         790            N. Water Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Milwaukee
                                         ____________________________________________________            WI          53202
                                                                                                         ____________ ______________________________
                                         City                                                            State        ZIP Code

                                          414-225-4972
                                         ____________________________________                            jmmertz@michaelbest.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          1056938                                                        WI
                                         ______________________________________________________ ____________
                                         Bar number                                             State




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                                               WASTEPLACE, LLC
                                         MANAGER CONSENT RESOLUTIONS
                                               September 13, 2023

                    A majority of the Managers of WastePlace, LLC, a Texas limited liability company
             (the “Company”), hereby adopt the following resolutions:

                    WHEREAS, it is in the best interest of the Company to file a voluntary petition
             with the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United
             States Code (the “Case”);

                   BE IT RESOLVED, that Gary LaBreck (the “Authorized Person”), is authorized
             and directed to execute and deliver all documents necessary to perfect the filing of and
             pursue the conclusion of the Case on behalf of the Company; and

                    BE IT FURTHER RESOLVED, that the Authorized Person is authorized and
             directed to appear in all Chapter 11 or related proceedings on behalf of the Company;
             and

                   BE IT FURTHER RESOLVED, that the Company is authorized and directed to
             employ the law firm of Michael Best & Friedrich LLP to represent the Company as general
             counsel in the Case, pursuant to the terms of that certain Engagement Letter signed by
             the Authorized Person on May 22, 2023, and to employ other attorneys and professionals
             as may be necessary for the Company.

                     Dated: September 13, 2023.
                                                             MANAGERS:


                                                             ____________________________
                                                             Rachel LaBreck

                                                             ____________________________
                                                             Gary LaBreck

                                                             ____________________________
                                                             Trevor Taylor

                                                             ____________________________
                                                             William McCann
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  A Fresh Start Moving and Junk Removal, LLC
  40 Eastern Ave, Ste. 218
  Malden, MA 02148

  A Spotless House Cleaning
  ATTN: Kevin Smith
  3626 Rivers Road
  Manvel, TX 77578

  Aardvark Disposal Service
  268 North Street
  Uptown, MA 01568

  Adam Greenspan
  703 W. Annie Street
  Austin, TX 78704

  Alan Shelton
  110 San Antonio Street, #2219
  Austin, TX 78701

  Al's Rubbish and Container Service, Inc.
  556 Central Turnpike
  Sutton, MA 01590

  Andrea Lucas
  63 Old Gorse Way
  Mawsley Kettering
  Northamptonshire, England NN14 1GJ

  Andrew Scott Mueller
  P.O. Box 50264
  Austin, TX 78763

  Arthur Poisson
  694 W. Hartford Ave.
  Uxbridge, MA 01569

  Athens Services, Inc.
  P.O. Box 60009
  City of Industry, CA 91716-0009

  ATX-JUNK-A-HAULICS
  5805 Boulder Creek
  Austin, TX 78724

  Austin Dumpster Service, LLC
  P.O. Box 340742
  Austin, TX 78734

  Balcones Recycling, Inc.
  P.O. Box 679912
  Dallas, TX 75267

  Boris Portman
  555 E. 5th Street, Ste. 723
  Austin, TX 78701
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  Break it Down
  P.O. Box 144851
  Austin, TX 78714

  Break it Down
  P.O. Box 144851
  Austin, TX 78714

  C6 Disposal Systems, Inc.
  2123 FM 1516 N
  Converse, TX 78109

  Carbon Ventures
  145 Nelson Street
  Brooklyn, NY 11231

  Cathexis Ventures, LP
  1000 Louisiana, Suite 7000
  Houston, TX 77002

  Central Texas Refuse, LLC (CTR)
  P.O. Box 18685
  Austin, TX 78760

  City Waste LP
  Coastal Compaction
  2202 Kelley Street
  Houston, TX 77026

  Clark Hill Strasburger
  901 Main Street, Ste. 6000
  Dallas, TX 75202

  Cory Allen
  320 S. Canyonwood Drive
  Austin, TX 78620

  Cavossa Disposal Corporation
  210 Nathan Ellis Hwy
  East Falmouth, MA 02536

  Dangelo Family
  89 Columbus Avenue
  Totowa, NJ 07512

  Falcone Enterprises
  9 Sutton Lane
  Worcester, MA 01603

  Frontier Waste
  P.O. Box 1283
  Hillsboro, TX 76645

  Gary and Carie Smith
  1810 Cancal Court
  Merritt Island, FL 32953
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  Gary LaBreck
  15500 Joseph Drive
  Austin, TX 78734

  GFL Environmental
  1144 Broadway Rd
  Sanford, NC 27332

  Gone for Good Dumpsters, LLC
  52639-2 Blackfoot Court
  Forthood, TX 76544

  Greg Larson
  5000 Mirandy Rose Court
  Middleton, WI 53562

  Grime Time, LLC
  4812 N IH 35
  Austin, TX 78751

  Harborock, Ltd.
  4302 Aqua Verde
  Austin, TX 78746

  Henry Graham
  127 Summermore Drive
  Charlotte, NC 28270

  Houston Waste Services
  P.O. Box 691027
  Houston, TX 77269

  HTX Junk-A-Haulics
  3214 Golden Leaf Drive
  Kingwood, TX 77339

  Jared Smith
  2204 Trail of the Madrones
  Austin, TX 78746

  Jarred Worth
  11223 Rose Canyon
  Helotes, TX 78023

  Jason Cahill
  145 Nelson St
  Brooklyn, NY 11231

  Jason Grimsley
  151 Birch Canoe Drive
  Woodlands, TX 77375

  Jet-A-Way Waste Services
  JAW Waste
  P.O. Box 227
  East Greenwich, RI 02818
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  Joe Grimsley
  2107 County Road, #2243
  Cleveland, TX 77327

  Joe's Organics LLC
  1712 E. Riverside, #67
  Austin, TX 78741

  John Bench
  548 Palmetto Road
  Belleair, FL 33756

  John Shaw
  1913 Real Catorce
  Austin, TX 78746

  K Town Disposal, LLC
  40 Lowell Road, Building 2
  Salem, NH 03079

  Keter Environmental, Inc
  P.O. Box 417468
  Boston, MA 02241

  Lonestar Essential
  Services, LLC
  5503 Southwestern Blvd.
  Dallas, TX 75209

  Lucas Cook
  3704 Bronco Bend Loop
  Austin, TX 78744

  Maher Removal and Disposal, Inc
  P.O. Box 6413
  Plymouth, MA 02362

  Mass Junk, Inc.
  66 Mount Vernon Avenue
  Melrose, MA 02176

  Matthew Chasen
  3402 Mount Bonnell Road
  Austin, TX 78731

  McEachern Enterprises, Inc DBA Superior Septic
  8 Indian Meadows Drive
  Round Rock, TX 78665

  Meicher CPAs, LLP
  2349 Deming Way, Ste. 300
  Middleton, WI 53562

  Michael Ashby
  4433 Vail Divide
  Austin, TX 78738
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  Michael Kiefer
  720 Cutlass
  Lakeway, TX 78734

  Michael Taylor
  310 Bisset Ct
  Austin, TX 78738

  Moira Taylor
  9633 Chamois Way
  Austin, TX 78736

  Pei San & Daniel Brown
  501 West Ave, Unit 1804
  Austin, TX 78701

  Peter A. Johnson, M.D.
  5110 N. Ossineke Dr.
  Spring, TX 77386

  Phoenix Solutions Group
  549 Heimer Road, Ste. 100
  San Antonio, TX 78232

  Rachel LaBreck
  15500 Joseph Drive
  Austin, TX 78734

  Recon Services Inc - (973 Materials)
  P.O. Box 17665
  Austin, TX 78760

  Redbox+ of Central Texas
  3239 Lake Park Road
  Belton, TX 76513

  Republic Services
  5301 Brookglen Dr
  Houston, TX 77017

  Rhino Removal
  3575 Lone Star Circle, Ste. 303
  Fort Worth, TX 76177

  Rhino Removal
  3575 Lone Star Circle, Ste. 303
  Fort Worth, TX 76177

  Robin Johnston
  360 Nueces Street, Ste. 1909
  Austin, TX 78701

  Rocking Haam, LP
  62 Pascal Lane
  Austin, TX 78746

  Salsa Ventures LLC
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  P.O. Box 90998
  Austin, TX 78709

  Salsamobi LLC
  555 E. 5th Street, Ste. 723
  Austin, TX 78701

  Sandusky Acq. Corp.
  2700 Pegram Avenue
  Austin, TX 78757

  Sanjay Manickam
  360 Nueces Street, Ste. 1117
  Austin, TX 78701

  Scott Paxton
  360 Nueces Street, #2211
  Austin, TX 78701

  South Shore Disposal, Inc
  50 Bedford Park
  Bridgewater, MA 02324

  Southwest Abatement
  4609 Kinney Street SE
  Albuquerque, NM 87105

  Stacey Grillo
  148 Rumson Road
  Rumson, NJ 07760

  Stacey McCann
  360 Nueces Street, Ste. 2105
  Austin, TX 78701

  Stephen Jankowski
  33 Henry Marsh Road
  Dudley, MA 01571

  Steven LaBreck
  413 Lacey Oak Loop
  San Marcos, TX 78666

  Superior Disposal LLC
  P.O. Box 2120
  San Marcos, TX 78667

  Supreme Junk Removal
  268 Centre Street
  Netwon, MA 02458

  Texas Disposal Systems (TDS)
  P.O. Box 674090
  Dallas, TX 75267

  The Junkluggers of Austin
  P.O. Box 160612
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  Austin, TX 78716

  TIFEC Venture WP, LLC
  11150 Overbrook Rd., Ste. 210
  Leawood, KS 66211

  Todd Jankowski
  P.O. Box 723
  Webster, MA 01570

  Trevor Taylor
  9633 Chamois Way
  Austin, TX 78736

  Tri-Recycling Inc
  P.O. Box 26499
  Austin, TX 78755

  Waste Connections, Inc – WCN
  P.O. BOX 17608
  Austin, TX 78760

  William Henry Agency
  1001 Locust St
  Kansas City, MO 64106

  William Tyson Ferguson
  2104 Campfield Pkwy
  Austin, TX 78745
